                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                  3:03CR219-1

UNITED STATES OF AMERICA            )
                                    )
vs.                                 )                     ORDER
                                    )
ANEWA TIARI-EL,                     )
                                    )
      Defendant.                    )
____________________________________)

       This matter is before the court upon the defendant’s Supplemental Memorandum in
Support of the Motion for Judgment of Acquittal, filed May 16, 2007. The court hereby directs
the government to file a response brief no later than May 29, 2007.
       IT IS SO ORDERED.

                                               Signed: May 21, 2007




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